
906 A.2d 1193 (2006)
H. William DEWEESE, House Minority Leader and Member of the House Rules Committee, and Mike Veon, Democratic Whip of the House of Representatives, Appellees
v.
Honorable Pedro A. CORTES, Secretary of the Commonwealth of Pennsylvania, Appellant.
John M. Perzel, Representative and Speaker of the Pennsylvania House of Representatives, and Robert C. Jubelirer, Senator and President Pro Tempore of the Senate of the Commonwealth of Pennsylvania, Intervenors.
H. William Deweese, House Minority Leader and Member of the House Rules Committee, and Mike Veon, Democratic Whip of the House of Representatives
v.
Honorable Pedro A. Cortes, Secretary of the Commonwealth of Pennsylvania John M. Perzel, Representative and Speaker of the Pennsylvania House of Representatives, and Robert C. Jubelirer, Senator and President Pro Tempore of the Senate of the Commonwealth of Pennsylvania, Intervenors.
Appeal of John M. Perzel, Representative and Speaker of the Pennsylvania House of Representatives, and Robert C. Jubelirer, Senator and President Pro Tempore of the Senate of the Commonwealth of Pennsylvania, Intervenors.
Supreme Court of Pennsylvania.
September 28, 2006.


*1194 ORDER

PER CURIAM.
The Order of the Commonwealth Court is affirmed.
